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UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )
VS.                                             )   CRIMINAL NO. 0040101-GPM
                                                )
BRAD TAYLOR,                                    )
                                                )
                      Defendant.                )

                             SPECIAL VERDICT FORM

       If you find the defendant guilty as charged in Count 1 of the Third Superseding Indictment,

then you must also determine whether the government proved, beyond a reasonable doubt, that

the amount of the mixture and substance containing cocaine base, commonly known as "crack

cocaine," exceeded five (5) grams during the period of time the defendant was a member of the

conspiracy.

       Yes    X
